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                      EXHIBIT 6
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 1        the -- for the process.
 2             We were advised that the two task force

 3        officers who were already in place did -- would not

 4        have to interview if they did not want to, but that
 5        they submitted their application, they would be

 6        moved to the next step.        We were told that after we

 7        conducted interviews, then we would determine from
 8        the interviews who we wanted to, from that group,

 9        move to the next step.        And then once we were at
10        the next step, we would be able to decide who we

11        wanted as task force officers.

12   Q    So, let me make sure I'm understanding you
13        correctly.

14             So, South Bend was going to send you a slate of

15        candidates, plus -- plus, the two TFOs who were

16        already there and then you were going to interview
17        and -- and interview those people and pick from

18        that -- that group?

19   A    We were advised that they would make the position

20        available to all officers at the police department

21        as long as they met some criteria.           And I don't

22        know exactly what the criteria was for the South

23        Bend Police Department.        They advised that we would

24        interview those individuals.          They also said that

25        the two sitting task force officers, which were

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 1        Sheldon Scott and Bayne Bennett, as long as they
 2        submitted their application, they did not have to

 3        interview, but that they would -- they could

 4        interview if they wanted to, but that they would
 5        automatically move to the second step of the

 6        process.

 7   Q    Okay.    And the second step was -- was for -- was
 8        interviews of -- of -- interviews by ATF personnel?

 9   A    The second step was pretty vague by the South Bend
10        Police Department.

11   Q    Pretty vague?

12   A    Yes.
13   Q    How -- how was it vague?

14   A    After we conducted the interviews of the

15        applicants, ATF asked South Bend Police Department

16        do we need to conduct further interviews, and South
17        Bend Police Department left it up to ATF if we

18        wanted to do further interviews or not.

19   Q    Did you want to?

20   A    After speaking with the special agent in charge and

21        acting resident agent in charge, it was determined

22        that no further interviews needed to be conducted.

23   Q    And at that point you were able to make -- make a

24        decision?

25   A    The ATF was able to make a decision.

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 1   Q    Okay.    What was the decision?
 2   A    The decision was to retain Task Force Officer Bayne

 3        Bennett and select Brandon Stec as a task force

 4        officer.
 5   Q    Who made that decision or those decisions?

 6   A    The assistant special agent in charge.

 7   Q    Was that Scott McCart?
 8   A    It was not.

 9   Q    Who?    I'm sorry, who was that?
10   A    Brendan Iber.

11   Q    Who participated in that decision?

12   A    Myself and the acting resident and special agent in
13        charge, Sean Skender.        I'm sorry, the acting

14        resident in charge.

15   Q    Okay.    And that was Mr. Skender?

16   A    Yes.
17   Q    Okay.    So the three of you decided jointly?

18   A    Yes.

19   Q    Who informed the candidates of the decision?

20   A    I believe Captain Biggs from South Bend Police

21        Department.

22   Q    Okay.    No one from ATF, in other words?

23   A    No.

24                            MR. McQUARY:      Okay.    We have

25                      been at it for about an hour.            I'd

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 1   Q    What was the reason for -- let's strike that.
 2             Who decided not to renew James Taylor's

 3        credentials with the ATF?

 4   A    It was the resident agent in charge at the time,
 5        which was Scott McCart.

 6   Q    And did you ever learn of the reason for not

 7        renewing James Taylor's credentials with the ATF?
 8   A    Yes.     Actually, Resident Agent in Charge Scott

 9        McCart reached out to me and asked if I had any
10        cases with him, if he had provided any paperwork or

11        had been involved in any type of casework that we

12        had, and I said not that I could recall.               And then
13        McCart said that he was going to let the

14        credentials expire, and that -- that could be

15        something revisited to bring him back on at a later

16        date, if we found it necessary.          But that due to
17        the lack of involvement, he was going to let the

18        credentials expire.

19   Q    The lack of James Taylor's involvement?

20   A    Correct.

21   Q    Involvement in what?

22   A    In any ATF cases, providing any information for

23        cases.    There just was no -- it didn't seem like it

24        was beneficial on the ATF's part to continue to

25        renew his credentials because it's quite labor

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 1        intensive to -- to do the reinstatement or the
 2        continuation.

 3   Q    When was Brandon Stec a special deputy?

 4   A    I believe he was assigned as a special deputy in
 5        2017 or '18.     I don't know the exact time.           I think

 6        2017 or '18.

 7   Q    Do you know for how long Brandon Stec was a special
 8        deputy?

 9   A    I believe up all the way to the point where he was
10        selected to the full-time task force officer, he

11        was a special deputy.        So there was one -- at least

12        one reinstatement for his special deputy
13        credentials prior to him being a full-time task

14        force officer.

15   Q    Did the fact that Brandon Stec was a special deputy

16        factor in to the decision to appoint him as a task
17        force officer with the ATF in 2020?

18   A    It did.

19   Q    Previously, you were asked whether you were aware

20        that Sheldon Scott was an armorer.           What is an

21        armorer?

22   A    I think that what they're referencing is like an

23        armorer for a specific firearms manufacturer to

24        get -- somebody who can work on or make adjustments

25        to specific firearms.        Glock has a Glock armorer,

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